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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE



SYMBOLOGY INNOVATIONS LLC,

     Plaintiff,

     v.                                                    C.A. NO. 1:18-cv-00564-GMS

BIMBO BAKERIES USA, INC. d/b/a                             JURY TRIAL DEMANDED
ENTENMANN’S,

     Defendant.


                         NOTICE OF DISMISSAL WITH PREJUDICE


             Plaintiff Symbology Innovations LLC, pursuant to Fed. R. Civ. P. 41 (a), hereby

provides notice that it dismisses all of its claims in this action WITH PREJUDICE. Each party

shall bear its own costs, expenses, and attorneys' fees.

Dated: June 14th, 2018                         Respectfully Submitted,



                                               /s/ Stamatios Stamoulis
                                               Stamatios Stamoulis
                                               Stamatios Stamoulis #4606
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                                               Eugenio J. Torres-Oyola
                                               (Pro Hac Vice Application Pending)
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                                            ATTORNEYS FOR PLAINTIFF
                                            SYMBOLOGY INNOVATIONS LLC




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on June 14th, 2018, to all counsel of record who are deemed to have

consented to electronic service via the Court's CM/ECF system per Local Rule CV-5(a)(3).



                                                   /s/Stamatios Stamoulis
                                                   Stamatios Stamoulis #4606




                     IT IS SO ORDERED this ____ day of ______ 2018.




                                           _______________________________________
                                           UNITED STATES DISTRICT COURT JUDGE




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